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                    Exhibit 5
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                               Report of the Economic Survey 2019
                                                                               2019
                                                                               Report of the Economic Survey




                              American intellectual Property Law Association
                                                                               Prepared Under Direction of
                                                                               Law Practice Management Committee




                                                                                                                   American Intellectual Property Law Association
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INTRODUCTION

The AIPLA Economic Survey, developed and directed by the Law Practice Management Committee of the
American Intellectual Property Law Association (AIPLA), reports the annual incomes and related professional
and demographic characteristics of intellectual property (IP) law attorneys and associated patent agents.
Conducted every other year by AIPLA, this survey also examines the economic aspects of intellectual property
law practice, including individual billing rates and typical charges for representative IP law services. All U.S.
AIPLA members, with the exception of student members were invited to participate.

The Law Practice Management Committee took an active role in reviewing the Economic Survey with a goal of
improving the usefulness and value of the data that are collected and analyzed.

DATA COLLECTION

An e-mail invitation to participate in the 2019 AIPLA Economic Survey was sent to a list of 9,439 AIPLA members;
accounting for bounces and requests to be removed from the database, the actual sample surveyed was 8,619.
The e-mail included an individualized direct link to the Web-based questionnaire along with an attached letter
requesting additional participation in the Firm portion of the Economic Survey. The initial e-mail was followed
up by several e-mail reminders. Additionally, AIPLA and committee members sent out promotional emails with
survey links as well. Similar to 2015 and 2017, additional efforts were made to collect the Firm Survey data.
Contact information was collected directly from the Individual Survey respondents that was then used for
distributing Firm Survey links directly to the appropriate people identified at each firm by the Individual Survey
respondents.

A total of 961 individuals responded by completing some or all of the Individual questionnaire, yielding an 11.1%
response rate, nearly the same as the response rate in 2017. This is the seventh time the survey has been
conducted online. Additional efforts to gather data for the Firm portion of the survey garnered 160 responses –
lower than the 205 received in 2017.

All data submitted by respondents were reviewed and evaluated for reasonableness and consistency; data
anomalies and outliers were analyzed and corrected or deleted.

In many cases, respondents did not answer every question, so the total counts for each table may vary.

CHANGES TO THE SURVEY

A number of enhancements were made to the 2019 Individual Survey instrument. The committee worked to
update the survey and included new questions that covered important areas of interest to the profession. In
Part I, the primary practice categories were updated, and questions about remote work and work status were
added. Previously, the survey asked for years of IP law attorney experience and this year non-attorney years of
IP law experience was added. A number of questions were reordered in this section.

In Part II (Corporate Practitioners), a question was added to ask about the IP budget as it related to US
prosecution and non-US prosecution. Part III (Private Practitioners) included new questions about discounted
hourly billing rates. In Part IV (Typical Charges), one new charge was added to the section covering Trademarks
(preparing and filing assignments or other formal documents). Eight new charges were added to the US Utility
Patent section along with a top-level clarifying statement about US Utility Patents that indicates that the
category includes foreign-origin patents where no substantive direction is received from foreign attorneys.
These new items covered preparation and filing of Information Disclosure Statement (IDS), reference
management, Patent Term Adjustment (PTA) calculation, formalities, preparing and filing formal drawings,

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preparation for and conducting examiner interviews and providing a continuation recommendation. The PTA
calculation was stated to be excluded from an above item related to issuing an allowed application. The
previously titled Foreign Origin and Foreign Patents category was renamed to US Utility Patents of Foreign Origin
with the following clarifying statement: in which foreign attorneys provide substantive direction. Exclude
government, foreign associate, drawing and similar fees. An entirely new category for Filing US Applications
Abroad was added, and Other US Patents and Copyrights was expanded to include charges for formal drawings
for design patent application, preparing and filing international design patent application under the Hague
agreement, and responding to Office action in design patent application. Transactional Work that included due
diligence, and preparing licenses, including negotiations was also added.

The litigation cost question for the total cost of filing or defending a petition for a post-grant proceeding was
expanded to collect data by technology.

The 2019 Firm Survey instrument updated the titles for the types of attorneys for various questions, and most
significantly added a section to collect the charges data similar to those collected in the Individual Survey. The
charges data collected from the Firm Survey were combined with the Individual Survey charges data, and for this
reason a new question about the number of full-time IP lawyers and patent agents at all locations was added to
the Firm Survey in order to have corresponding demographic data when combining the two sets of data.

In the data tables in the report, a minimum of three responses was required to show composite values. The
term “ISD” is used in the tables to show insufficient data. Similar to the past few reports, table rows with one
or two respondents have been omitted to protect the anonymity of respondents, and tables with no valid rows
have likewise been omitted. In general, tables with less than 20 respondents overall were not shown in order to
maintain statistical reliability of the data; however, for the new category Private Firm, Non-Partner Track
Attorney, as well as for Patent Agents, a number of exceptions were made and tables were kept in spite of
having fewer than 20 respondents overall. Some detailed tables for Litigation Costs by Location were not
included due to low response counts. Additionally, for applicable tables, the 10th and 90th percentiles could only
be shown if there were 10 or more respondents.

DESCRIPTION OF STATISTICS AND FORMATTING CONVENTIONS

Quartiles: Quartiles are used to show distributions of real numbers. Responses are described by three quartiles:
the first quartile, the median, and the third quartile. Quartiles identify interpolated locations on a distribution of
values and do not necessarily represent actual reported values. Another label for quartiles is percentiles; the
first quartile is the same as the 25th percentile, the median is the 50th percentile, and the third quartile is the 75th
percentile. For example, when all reported values are listed from highest to lowest, the third quartile identifies
the point on the list that is equal to or greater than 75 percent (three-quarters) of the reported values and the
first quartile identifies the point on the list that is equal to or less than 25 percent (one-quarter).

10th Percentile: Also used to show distributions of real numbers, ninety percent of respondents reported this
amount or more.

90th Percentile: Ten percent reported this amount or more. If there are fewer than 10 values, the 90th
percentile cannot be calculated.

Median (midpoint): The median identifies the point in the distribution of reported values that is equal to or
larger than one-half of reported values and equal to or smaller than one-half—that is, the mid-point.
A median is shown when three or more values were reported by respondents. The first and third quartiles are
shown when five or more values were reported by respondents. Quartiles and medians based on values
reported by survey respondents are estimates of the quartiles and medians that could be determined if the


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characteristics of the entire population represented by survey respondents were known. In general, the more
values that are reported, the more accurately quartiles estimate the distribution of values among all AIPLA
members.

Mean (average): The mean is shown when three or more values were reported by respondents. It is equal to the
sum of all values divided by the number of values.

It should be noted that if the mean exceeds the median, it is because high values affect the calculations. It is also
possible, especially with a small number of values, for the mean to exceed the third quartile.

Percentages in some tables and some graphs may not sum to exactly 100% due to rounding.

Other definitions useful in understanding tabular information presented in this report are:

Income: Defined as “total gross income in calendar year 2018 from your primary practice…including any
partnership income, cash bonus, share of profits, and similar income you received, and any deferred
compensation in which you vested in 2018.”

Typical Charges: Respondents were instructed to respond “only if you have been personally responsible for a
representative sample of the type of work to which the question pertains, either as a service provider (i.e., an
attorney in private practice) or as a purchaser of such services (i.e., corporate counsel).” When reporting,
respondents were directed to assume “a typical case with no unusual complications,” and were asked “what did
you charge (or would have charged, e.g., based on a fixed fee rate schedule) or what were you charged (or would
have expected to be charged, e.g., on a fixed fee rate schedule), in 2018, for legal services only (including search
fees, but not including copy costs, drawing fees or government fees) in each of the following types of US
matters?” Respondents were also asked to indicate the type of fee primarily used in 2018 (i.e., fixed fee, hourly,
other). The Firm Survey instructions were similar.

Estimated Litigation Costs: Respondents were instructed to respond to these questions “only if you have
personal knowledge either as a service provider (attorney in private practice) or as a purchaser of such services
(corporate counsel) of the costs incurred within the relatively recent past, for the type of work to which the question
pertains. In each of the questions, ‘total cost’ is all costs, including outside legal and paralegal services, local
counsel, associates, paralegals, travel and living expenses, fees and costs for court reporters, photocopies, courier
services, exhibit preparation, analytical testing, expert witnesses, translators, surveys, jury advisors, and similar
expenses.” Respondents were further instructed to estimate these based on a single IP asset, such as one patent at
issue or one trademark, etc.

Location: The metropolitan areas of Boston, New York City, Philadelphia, Washington (DC-MD-VA), Chicago, and
Minneapolis–St. Paul include all localities—central city and surrounding areas—within the primary metropolitan
statistical area. Texas is the one state reported separately. There were sufficient responses to breakout Los
Angeles and San Francisco separately; California firms outside of those metro areas were included in “Other
West.” Other categories exclude those named metropolitan areas.




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RESPONDENT BACKGROUND

   A total of 961 individuals participated in the 2019 Individual survey.
   More than half (52.2%) of all respondents are Private Firm, Equity Partners, Shareholders or Private Firm,
    Partner-Track Attorneys. Another 11.3% were Solo Practitioners; up from 9.6% in the 2017 report.
   Approximately one in six respondents are either Corporate IP Department, Attorneys, or Corporate IP
    Department, Heads.


                                        RESPONDENTS BY TYPE OF PRACTICE
                  PRIMARY PRACTICE                                           PERCENT    COUNT
                  Private Firm
                  Solo Practitioner                                           11.3%        109
                  Private Firm, Equity Partner                                37.7%        362
                  Private Firm, Partner-Track Attorney*                       14.5%        139
                  Private Firm, Non-Partner Track Attorney*                    2.1%         20
                  Private Firm, Agent                                          2.6%         25
                  Private Firm, Of Counsel                                     3.7%         36
                  Total Private Firm                                          72.0%        691

                  Corporate
                  Corporate IP, Head                                           7.4%         71
                  Corporate IP, Attorney                                       8.8%         85
                  Corporate IP, Agent                                          2.1%         20
                  Corporate Legal, Head                                        0.8%          8
                  Corporate Legal, Attorney                                    2.1%         20
                  Corporate Legal, Agent                                       0.6%          6
                  Total Corporate                                             21.8%        210

                  Government
                  PTO Examiner                                                 0.7%          7
                  PTO Admin/Management                                         0.3%          3
                  Government IP, not PTO                                       1.0%         10
                  Total Government                                             2.0%         20

                  Other                                                        4.2%         40
                  Total Other                                                  4.2%         40

                  Total                                                      100.0%        961
                  *New categories, previously Private Firm, Associate




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                                                                          Primary Practice (P. I-1, Q2)
                                                                                                   All Respondents




                                                                                                                                                     Private Firm
                                                                                                                                                        72.0%




                                                              Corporate
                                                                21.8%




                                                                           Government
                                                                              2.0%          Other
                                                                                            4.2%                                                    Primary Practice (P. I-1, Q2)
                                                                                                                                                                    All Private Firm Respondents


                                                                                                                                                                                                        Equity Partner
                       Primary Practice (P. I-1, Q2)                                                                                                                                                        52.4%

                                     All Corporate Respondents
                                    IP Dept Attorney
                                         40.5%




                                                                                                                                 Partner-Track
                                                                                                                                     20.1%




                                                                                                                                     Non-Partner Track
IP Dept Patent Agent                                                                                                                       2.9%
        9.5%                                                                                                                                    Patent Agent
                                                                                 Head of IP Dept                                                    3.6%
                                                                                     33.8%                                                                     Of counsel
                                                                                                                                                                  5.2%              Solo Practitioner
                                                                                                                                                                                         15.8%
          Head of Legal Dept
                3.8%

                       Legal Dept Attorney
                              9.5%            Legal Dpt Patent Agent
                                                       2.9%
                                                                                                     Primary Practice (P. I-1, Q2)
                                                                                                               All Government Respondents
                                                                                                PTO Examiner
                                                                                                   35.0%




                                                                                                                                                                 Govt IP, Not PTO
                                                                              PTO Admin, Mgmt                                                                         50.0%
                                                                                   15.0%




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           Respondents typically (91.4%) have been admitted to                           Admitted to the Patent Bar (P. I-1, Q5)
            the patent bar.
           This year, respondents are similar in age, but slightly
            older than those that participated in 2017. They are
            more likely to be 50 or older (55.5%) than in 2017
            (52.1%). Approximately one-third of respondents in
            2019 are between the ages of 50 and 59. This is similar
                                                                                   Yes
            to the 32.4% reported in 2017, but in 2019, there are                 91.4%

            slightly higher proportions of those 60 and older
            compared to 2017, 22.4% vs. 19.7%, respectively.                                                                                      No
                                                                                                                                                 8.6%

           Survey participants are typically white/Caucasian
            (86.5%) men (80.3%) that work full-time (93.3%).
           Not including a law degree, 58.4% of respondents hold
            a bachelor’s degree, while 25.6% report holding a
            master’s degree. Another 15.2% have a doctorate.
                                                                     In 2019, 49.3% of all respondents have 20 years or more
                 Work Full-Time (P. I-4, Q4)                          of IP law attorney experience. A more experienced
                                                                      group when compared to 2017 respondents; when
                                                                      41.5% had 20 years or more of IP law attorney
                                                                      experience.
                                                                     Comparable to 2017, the most prevalent IP technical
                                                                      specialization (over 50% of time) is mechanical (31.6% in
                                                       No             2019 and 31.2% in 2017). Computer software (18.7%),
                                                      6.7%
                                                                      electrical (13.8%), and chemical (12.6%) are the other
                                                                      areas of specialization that produce a double-digit
                                                                      response.
     Yes
    93.3%                                                            With proportions similar to 2017, about one-third of
                                                                      respondents (33.8%) practice in the Mid-Atlantic or New
                                                                      England area, including 14.2% in the Washington, DC,


                                                   Years of Intellectual Property Law Attorney Experience
            Consolidated Metropolitan                                     (P. I-2, Q9)                                    15-19
            Statistical Area (CMSA). The Central                                 20-24                                    17.2%
                                                                                 18.4%
            region represents 28.5% of all
            respondents, and almost one-
            quarter (23.3%) are located in the
            West, 7.0% were located in Texas.
            Members outside of the U.S. were
            not surveyed this year.                              25-29
                                                                                                                                         10-14
                                                                                                                                         16.3%
                                                                 11.8%




                                                                         30-34
                                                                         6.9%                                                      7-9
                                                                                                                                  7.1%

                                                                                   35-39
                                                                                                                           5-6
                                                                                   5.9%
                                                                                                                          4.8%
                                                                                              40 or More   Fewer than 5
                                                                                                 6.3%         5.2%




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                                                                LOCATION
METROPOLITAN AREAS                                                                                                        PERCENT       COUNT
Boston CMSA*                                                                                                                     5.1%      49
New York City CMSA*                                                                                                              6.6%      63
Philadelphia CMSA*                                                                                                               3.6%      35
Washington, DC CMSA*                                                                                                            14.2%     136
Other East: Maine, New Hampshire, Vermont, Massachusetts, Rhode Island, Connecticut, New
                                                                                                                                 4.3%      41
York, New Jersey, Pennsylvania, Delaware, Maryland, Virginia, and West Virginia
Metro Southeast: Raleigh–Durham, Greensboro–Winston-Salem, and Charlotte, NC; Atlanta, GA;
                                                                                                                                 3.9%      37
and Miami–Ft. Lauderdale–West Palm Beach, FL
Other Southeast: North Carolina, South Carolina, Georgia, and Florida                                                            3.7%     36
Chicago CMSA*                                                                                                                    5.9%     57
Minneapolis–St. Paul PMSA**                                                                                                      5.4%     52
Other Central: Minnesota, North Dakota, South Dakota, Wisconsin, Michigan, Ohio, Indiana,
Illinois, Iowa, Nebraska, Kansas, Missouri, Kentucky, Oklahoma, Arkansas, Louisiana, Mississippi,                               17.2%     165
Alabama, and Tennessee
Texas                                                                                                                            7.0%      67
Los Angeles CMSA*                                                                                                                4.0%      38
San Francisco CMSA*                                                                                                              5.0%      48
Other West: Montana, Wyoming, Colorado, New Mexico, Idaho, Utah, Nevada, Arizona,                                               14.3%     137
Washington, Oregon, California, Alaska, and Hawaii
*CMSA: Consolidated Metropolitan Statistical Area– a metro area with a population of one million or more.
**PMSA: Primary Metropolitan Statistical Area– a component of a CMSA.



                                                  Location (P. I-2, Q1)
                                                                Other Southeast
                                                                     3.7%
                                                       Chicago CMSA                         Other East
                                                           5.9%           Metro Southeast     4.3%
                                                                               3.9%
                                Minne.-St. Paul PMSA
                                        5.4%


                                                                                                         Washington, DC CMSA
                                                                                                                14.2%



                            Other Central
                               17.2%

                                                                                                            Philadelphia CMSA
                                                                                                                   3.6%


                                                                                                          NYC CMSA
                                                                                                            6.6%

                                        Texas
                                        7.0%
                                                                                                  Boston CMSA
                                                                                                      5.1%
                                   Los Angeles CMSA
                                         4.0%
                                                                            Other West
                                                 San Francisco CMSA
                                                                              14.3%
                                                        5.0%




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                                                  Age (P. I-1, Q6)
                                                          45-49
                                                          14.6%
                                                                                            40-44
                                                                                            13.4%




                                50-54
                                16.6%
                                                                                                             35-39
                                                                                                             10.2%




                                                                                                             30-34
                                                                                                             5.7%


                                                                                                        Younger than 30
                                                                                                             0.6%

                                         55-59
                                         16.5%
                                                                                               65 or Older
                                                                                                 11.3%

                                                                  60-64
                                                                  11.1%



          Gender (P. I-1, Q7)                                                                        Ethnicity (P. I-1, Q8)


                                                                                                                              Other, 2.2%
                                                                          White/Caucasian
                                                                               86.5%                                            Blended, 1.9%
                                                                                                                                   N.A. Indian/Native Canadian, 0.1%


                                                                                                                                       Asian/Pacific Islander, 5.6%

Male
80.3%                                                                                                                                  Hispanic/Latino, 1.9%

                                                                                                                                        Black/African American, 1.7%

                                                 Female
                                                  19.7%




                       Highest Education Other Than Law (P. I-2, Q11)
                                                                                   None
                                                                                   0.2%



                                                                                                    Doctorate Degree
                                                                                                         15.2%




                                                                                                              Other
                                                                                                              0.6%
                     Bachelor's Degree
                          58.4%




                                                                                                       Master's Degree
                                                                                                           25.6%




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TYPICAL COSTS OF LITIGATION
Survey participants were asked to provide cost estimates, but only for the types of litigation they had personal
knowledge of, either as a service provider (attorney in private practice) or as a purchaser (corporate counsel), and
were engaged in relatively recently. “Total cost” was requested, and includes outside legal and paralegal services,
local counsel, associates, paralegals, travel and living expenses, fees and costs for court reporters, photocopies,
courier services, exhibit preparation, analytical testing, expert witnesses, translators, surveys, jury advisors, and
similar expenses. Participants were also asked to estimate based on a single IP asset (i.e., one patent at issue, one
trademark, etc.).

The following table reports median litigation costs for Patent Infringement, All Varieties, Patent Infringement
Pursuant to the Hatch-Waxman Act, Patent Infringement by Non-Practicing Entity, Section 337 Patent Infringement
Action in the International Trade Commission, Post-Grant Proceedings by Technology – which is new this year,
Trademark Infringement, Trademark Opposition/Cancellation, Copyright Infringement, and Trade Secret
Misappropriation. In the previous (2017) survey, new categories (varieties) were created including initial case
management; inclusive of discovery, motions, and claim construction; inclusive of pretrial, trial, post-trial, and appeal
(when applicable); and the cost of mediation.

In order to facilitate temporal comparisons of litigation costs to previous surveys, and in consultation with AIPLA staff,
new varieties were matched up (when possible starting in 2017) with old varieties based mainly on the variety name.
For example, Inclusive of discovery, motions, and claim construction was matched up with End of discovery, and Cost
of mediation was matched up with Mediation. It should be noted that these comparisons are approximate given the
differences in variety names, and thus caution should be exercised when making comparisons to the historical data.
 MEDIAN LITIGATION COSTS                                                       $000S
                                                           2013             2015              2017             2019
 PATENT INFRINGEMENT, ALL VARIETIES
 LESS THAN $1 MILLION AT RISK
   Initial case management                                  N/A              N/A               $25              $50
   Inclusive of discovery, motions, and claim              $350             $400              $250             $250
   construction
   Inclusive of pre and post-trial, and appeal when        $700             $600              $500             $700
   applicable
   Cost of mediation                                        N/A             $100               $25              $40
 $1-$10 MILLION AT RISK
   Initial case management                                  N/A              N/A               $60              $80
   Inclusive of discovery, motions, and claim            $1,000             $950              $550             $600
   construction
   Inclusive of pre and post-trial, and appeal when      $2,000            $2,000           $1,000            $1,500
   applicable
   Cost of mediation                                        N/A             $200               $50              $50
 $10-$25 MILLION AT RISK
   Initial case management                                  N/A               N/A            $100              $150
   Inclusive of discovery, motions, and claim            $2,000            $1,900           $1,000            $1,225
   construction
   Inclusive of pre and post-trial, and appeal when      $3,325            $3,100           $2,000            $2,700
   applicable
   Cost of mediation                                        N/A             $250               $75              $80
 MORE THAN $25 MILLION AT RISK
   Initial case management                                  N/A               N/A            $138              $250
   Inclusive of discovery, motions, and claim            $3,000            $3,000           $1,700            $2,375
   construction
   Inclusive of pre and post-trial, and appeal when      $5,500            $5,000           $3,000            $4,000
   applicable
   Cost of mediation                                        N/A             $300              $100             $100




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MEDIAN LITIGATION COSTS (CONTINUED)                               $000S
                                                      2013     2015        2017     2019
PATENT INFRINGEMENT PURSUANT TO THE
HATCH-WAXMAN ACT (I.E., "ANDA LITIGATION")
LESS THAN $1 MILLION AT RISK
  Initial case management                              N/A      N/A         $25     $150
  Inclusive of discovery, motions, and claim          $300     $350        $163     $400
  construction
  Inclusive of pre and post-trial, and appeal when    $513     $650        $250     $900
  applicable
  Cost of mediation                                    N/A      $75         $40     $100
$1-$10 MILLION AT RISK
  Initial case management                               N/A      N/A        $50     $250
  Inclusive of discovery, motions, and claim         $1,000   $1,000       $300    $1,000
  construction
  Inclusive of pre and post-trial, and appeal when   $1,800   $1,500       $288    $2,500
  applicable
  Cost of mediation                                    N/A     $200         $68     $100
$10-$25 MILLION AT RISK
  Initial case management                               N/A      N/A        $80     $250
  Inclusive of discovery, motions, and claim         $2,500   $1,500       $400    $2,000
  construction
  Inclusive of pre and post-trial, and appeal when   $4,000   $3,000       $750    $3,500
  applicable
  Cost of mediation                                    N/A     $200         $65     $150
MORE THAN $25 MILLION AT RISK
  Initial case management                               N/A      N/A       $100     $400
  Inclusive of discovery, motions, and claim         $3,250   $3,000       $500    $3,000
  construction
  Inclusive of pre and post-trial, and appeal when   $6,000   $5,000      $1,100   $5,000
  applicable
  Cost of mediation                                    N/A     $175        $125     $150
PATENT INFRINGEMENT, DEFENDING CLAIMS OF
PATENT INFRINGEMENT BY NON-PRACTICING ENTITY
LESS THAN $1 MILLION AT RISK
  Initial case management                              N/A      N/A         $25      $40
  Inclusive of discovery, motions, and claim          $300     $300        $200     $250
  construction
  Inclusive of pre and post-trial, and appeal when    $600     $500        $500     $750
  applicable
  Cost of mediation                                    N/A     $100         $25      $45
$1-$10 MILLION AT RISK
  Initial case management                              N/A      N/A         $50      $75
  Inclusive of discovery, motions, and claim          $750     $570        $500     $750
  construction
  Inclusive of pre and post-trial, and appeal when   $1,250   $1,000       $850    $1,875
  applicable
  Cost of mediation                                    N/A     $113         $35      $50
$10-$25 MILLION AT RISK
  Initial case management                               N/A      N/A        $55     $125
  Inclusive of discovery, motions, and claim         $1,500   $1,200       $713    $1,500
  construction
  Inclusive of pre and post-trial, and appeal when   $2,400   $2,000      $1,250   $3,000
  applicable
  Cost of mediation                                    N/A     $200         $50      $90
MORE THAN $25 MILLION AT RISK
  Initial case management                               N/A      N/A       $100     $200
  Inclusive of discovery, motions, and claim         $2,500   $2,000      $1,100   $2,500
  construction
  Inclusive of pre and post-trial, and appeal when   $4,000   $3,750      $2,000   $4,500
  applicable
  Cost of mediation                                    N/A     $213         $63     $100

                                                      51
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MEDIAN LITIGATION COSTS (CONTINUED)                                $000S
                                                       2013     2015        2017     2019
PATENT INFRINGEMENT, SECTION 337
LESS THAN $1 MILLION AT RISK
  Initial case management                               N/A      N/A         $50     $100
  Inclusive of discovery, motions, and claim           $375     $500        $200     $400
  construction
  Inclusive of pre and post-trial, and appeal when     $550     $750        $250     $750
  applicable
  Cost of mediation                                     N/A     $100         $30      $50
$1-$10 MILLION AT RISK
  Initial case management                               N/A       N/A       $100     $250
  Inclusive of discovery, motions, and claim           $750    $1,000       $500    $2,000
  construction
  Inclusive of pre and post-trial, and appeal when    $1,800   $1,600       $675    $4,000
  applicable
  Cost of mediation                                     N/A     $113         $50     $100
$10-$25 MILLION AT RISK
  Initial case management                                N/A      N/A       $120     $300
  Inclusive of discovery, motions, and claim          $1,500   $2,000      $1,000   $4,000
  construction
  Inclusive of pre and post-trial, and appeal when    $3,000   $4,000      $1,300   $6,000
  applicable
  Cost of mediation                                     N/A     $150         $50     $150
MORE THAN $25 MILLION AT RISK
  Initial case management                                N/A      N/A       $275     $500
  Inclusive of discovery, motions, and claim          $3,000   $3,250      $1,875   $5,500
  construction
  Inclusive of pre and post-trial, and appeal when    $5,000   $5,000      $2,000   $8,000
  applicable
  Cost of mediation                                     N/A     $250         $75     $150
POST-GRANT (WAS INTER PARTES) PROCEEDINGS
  Through filing petition (Detail reported below in     N/A      $80        $100      N/A
  2019)
 Through end of motion practice (Detail reported        N/A     $200        $200      N/A
  below in 2019)
  Through PTAB hearing (Detail reported below in        N/A     $275        $250      N/A
  2019)
 Through appeal (Detail reported below in 2019)         N/A     $350        $350      N/A
COVERED BUSINESS METHOD (CBM) REVIEW
  Through filing petition (New in 2019)                 N/A      N/A         N/A     $150
  Through end of motion practice (New in 2019)          N/A      N/A         N/A     $325
  Through PTAB hearing (New in 2019)                    N/A      N/A         N/A     $450
  Through appeal (New in 2019)                          N/A      N/A         N/A     $650
PGR/IPR – ELECTRICAL/COMPUTER
  Through filing petition (New in 2019)                 N/A      N/A         N/A     $105
  Through end of motion practice (New in 2019)          N/A      N/A         N/A     $275
  Through PTAB hearing (New in 2019)                    N/A      N/A         N/A     $325
  Through appeal (New in 2019)                          N/A      N/A         N/A     $450
PGR/IPR - MECHANICAL
  Through filing petition (New in 2019)                 N/A      N/A         N/A     $100
  Through end of motion practice (New in 2019)          N/A      N/A         N/A     $238
  Through PTAB hearing (New in 2019)                    N/A      N/A         N/A     $300
  Through appeal (New in 2019)                          N/A      N/A         N/A     $400




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MEDIAN LITIGATION COSTS (CONTINUED)                               $000S
                                                      2013     2015        2017     2019
TRADEMARK INFRINGEMENT
LESS THAN $1 MILLION AT RISK
  Initial case management                              N/A      N/A         $15      $15
  Inclusive of discovery, motions, and claim          $150     $150        $150     $150
  construction
  Inclusive of pre and post-trial, and appeal when    $300     $325        $300     $275
  applicable
  Cost of mediation                                    N/A      $50         $20      $23
$1-$10 MILLION AT RISK
  Initial case management                              N/A      N/A         $25      $50
  Inclusive of discovery, motions, and claim          $350     $263        $275     $343
  construction
  Inclusive of pre and post-trial, and appeal when    $550     $500        $475     $888
  applicable
  Cost of mediation                                    N/A      $75         $30      $50
$10-$25 MILLION AT RISK
  Initial case management                              N/A      N/A         $38     $120
  Inclusive of discovery, motions, and claim          $500     $400        $400     $500
  construction
  Inclusive of pre and post-trial, and appeal when   $1,000    $720        $750    $1,450
  applicable
  Cost of mediation                                    N/A     $100         $50      $88
MORE THAN $25 MILLION AT RISK
  Initial case management                              N/A      N/A         $50      $175
  Inclusive of discovery, motions, and claim          $750     $900        $600    $1,600
  construction
  Inclusive of pre and post-trial, and appeal when   $1,500   $1,600      $1,000   $2,750
  applicable
  Cost of mediation                                    N/A     $100         $53     $200




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MEDIAN LITIGATION COSTS (CONTINUED)                                $000S
                                                      2013     2015         2017     2019
TRADEMARK OPPOSITION/CANCELLATION
  End of discovery                                     $50      $50          $50      $50
  Inclusive, all costs                                 $80      $95          $80     $100
COPYRIGHT INFRINGEMENT
LESS THAN $1 MILLION AT RISK
  Initial case management                              N/A      N/A          $15      $25
  Inclusive of discovery, motions, and claim          $150     $150         $100     $150
  construction
  Inclusive of pre and post-trial, and appeal when    $300     $250         $200     $550
  applicable
  Cost of mediation                                    N/A      $40          $25      $25
$1-$10 MILLION AT RISK
  Initial case management                              N/A      N/A          $25       $95
  Inclusive of discovery, motions, and claim          $350     $250         $213    $1,000
  construction
  Inclusive of pre and post-trial, and appeal when    $563     $500         $388    $1,750
  applicable
  Cost of mediation                                    N/A      $63          $40      $50
$10-$25 MILLION AT RISK
  Initial case management                              N/A      N/A          $50      $150
  Inclusive of discovery, motions, and claim          $600     $500         $375    $1,500
  construction
  Inclusive of pre and post-trial, and appeal when   $1,000    $750         $600    $3,500
  applicable
  Cost of mediation                                    N/A     $100          $50     $100
MORE THAN $25 MILLION AT RISK
  Initial case management                              N/A      N/A          $50      $400
  Inclusive of discovery, motions, and claim          $775     $750         $600    $2,500
  construction
  Inclusive of pre and post-trial, and appeal when   $1,625   $1,200       $1,000   $6,500
  applicable
  Cost of mediation                                    N/A     $100         $100     $200




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MEDIAN LITIGATION COSTS (CONTINUED)                                $000S
                                                      2013     2015         2017     2019
TRADE SECRET MISAPPROPRIATION SUIT
LESS THAN $1 MILLION AT RISK
  Initial case management                              N/A      N/A          $30      $25
  Inclusive of discovery, motions, and claim          $250     $250         $200     $150
  construction
  Inclusive of pre and post-trial, and appeal when    $425     $500         $400     $550
  applicable
  Cost of mediation                                    N/A      $50          $25      $25
$1-$10 MILLION AT RISK
  Initial case management                              N/A      N/A          $50       $95
  Inclusive of discovery, motions, and claim          $500     $500         $350    $1,000
  construction
  Inclusive of pre and post-trial, and appeal when    $800     $925         $663    $1,750
  applicable
  Cost of mediation                                    N/A      $50          $35      $50
$10-$25 MILLION AT RISK
  Initial case management                              N/A      N/A          $50      $150
  Inclusive of discovery, motions, and claim          $850     $800         $975    $2,000
  construction
  Inclusive of pre and post-trial, and appeal when   $1,400   $1,500       $1,250   $4,125
  applicable
  Cost of mediation                                    N/A     $100          $50     $100
MORE THAN $25 MILLION AT RISK
  Initial case management                               N/A      N/A        $100     $400
  Inclusive of discovery, motions, and claim         $1,900   $1,625       $1,200   $3,000
  construction
  Inclusive of pre and post-trial, and appeal when   $2,950   $2,650       $1,650   $7,500
  applicable
  Cost of mediation                                    N/A     $113          $55     $200




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         Estimated Total Cost of a Patent Infringement Suit - All Varieties
                 (P. I-141 to I-143, I-147 to I-149, Q47Aa-Q47Ah)
                                                                                                  1st Quartile/3rd Quartile                                     Median        Mean
    Less than $1 million at risk

             Initial case management




                                          $20


                                                                $75
Incl, discovery, motions, claim constr




                                                        $194




                                                                                               $400
Incl, pre to post-trial, & appeal if app




                                                                              $450




                                                                                                                         $900
                     Cost of mediation
                                          $23


                                                               $50
           $1-$10 million at risk

             Initial case management
                                                                             $225
                                           $40




Incl, discovery, motions, claim constr




                                                                                                                                                       $1,500
                                                                  $300




Incl, pre to post-trial, & appeal if app




                                                                                                                                                                                                                                          $3,500
                                                                                                      $750




                     Cost of mediation
                                                                  $100
                                           $30




                                                        $0                                                                $1,000                                           $2,000                                    $3,000                                          $4,000

                                                                                                                                                                    Thousands
                                                                      1st Quartile 3rd Quartile                          Median              Mean                                                       1st Quartile 3rd Quartile    Median                 Mean
             Less than $1 million at risk                                                                                                               $1-$10 million at risk
             Initial case management                                          $20                        $75               $50                $51       Initial case management                             $40         $225           $80               $120
             Incl, discovery, motions, claim constr                          $194                       $400              $250               $331       Incl, discovery, motions, claim constr             $300        $1,500         $600               $914
             Incl, pre to post-trial, & appeal if app                        $450                       $900              $700               $725       Incl, pre to post-trial, & appeal if app           $750        $3,500        $1,500             $1,868
             Cost of mediation                                                $23                        $50               $40                $49       Cost of mediation                                   $30         $100           $50               $116




        Estimated Total Cost of a Patent Infringement Suit - All Varieties
                (P. I-143 to I-146, I-149 to I-152, Q47Ai-Q47Ap)
                                                                                                      1st Quartile/3rd Quartile                                   Median         Mean
           $10-$25 million at risk

               Initial case management
                                                                      $250
                                             $75




 Incl, discovery, motions, claim constr
                                                                                                                                  $2,650
                                                           $500




 Incl, pre to post-trial, & appeal if app
                                                                                      $1,250




                                                                                                                                                                                               $6,000




                       Cost of mediation
                                                                  $150
                                            $50




  More than $25 million at risk

               Initial case management
                                                 $123




                                                                             $500




 Incl, discovery, motions, claim constr
                                                                             $1,000




                                                                                                                                                                                               $6,000




 Incl, pre to post-trial, & appeal if app
                                                                                                             $2,000




                                                                                                                                                                                                                                                   $9,000




                       Cost of mediation
                                                                     $200
                                            $55




                                                           $0                            $1,000                       $2,000               $3,000               $4,000      $5,000          $6,000            $7,000          $8,000           $9,000                $10,000

                                                                                                                                                                     Thousands
                                                                            1st Quartile 3rd Quartile                     Median              Mean                                                       1st Quartile 3rd Quartile   Median                 Mean
               $10-$25 million at risk                                                                                                                      More than $25 million at risk
               Initial case management                                            $75                         $250           $150              $170         Initial case management                          $123        $500          $250                  $378
               Incl, discovery, motions, claim constr                            $500                        $2,650         $1,225            $1,623        Incl, discovery, motions, claim constr          $1,000      $6,000        $2,375                $3,043
               Incl, pre to post-trial, & appeal if app                         $1,250                       $6,000         $2,700            $3,093        Incl, pre to post-trial, & appeal if app        $2,000      $9,000        $4,000                $5,184
               Cost of mediation                                                  $50                         $150            $80               $98         Cost of mediation                                 $55        $200          $100                  $139




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Background Information
Private Firm, Equity Partner

                                                                       Total
 All Individuals                    Count                                  362
                                    Yes                                  90.9%
 Admitted to the Patent Bar
                                    No                                    9.1%
 Age                                Mean (Average) Years                  53.3
                                    Male                                 84.9%
 Gender
                                    Female                               15.1%
                                    White/Caucasian                      87.5%
                                    Black/African American                 .6%
                                    Hispanic/Latino                       1.4%
                                    Asian/Pacific Islander                5.1%
 Ethnicity
                                    North American
                                                                           .3%
                                    Indian/Native Canadian
                                    Blended                               2.6%
                                    Other                                 2.6%
 IP non-attorney experience         Mean (Average) Years                    5.6
 IP attorney experience             Mean (Average) Years                  23.2
                                    None                                   .3%
                                    Bachelor's Degree                    67.8%
 Highest education other than Law   Master's Degree                      23.1%
                                    Doctorate Degree                      8.3%
                                    Other                                  .6%




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Average hourly billing rate in 2018 (Q37)
Private Firm, Equity Partner



                                                                           10th        First                    Third        90th
                                               Number of       Mean      Percentile   Quartile     Median      Quartile    Percentile
                                               Individuals   (Average)      10%        25%        (Midpoint)    75%           90%
 All Individuals                                      302         $521        $330        $375         $475        $650         $796
                      7-9                                9        $356          ISD       $325         $370        $390           ISD
 Years of IP Law      10-14                            40         $438        $280        $346         $398        $500         $668
 Attorney             15-24                           119         $505        $325        $375         $448        $650         $750
 Experience           25-34                            86         $552        $344        $429         $500        $665         $833
                      35 or More                       45         $613        $390        $475         $595        $713         $916
                      Boston CMSA                      13         $747        $369        $450         $800      $1,015        $1,080
                      NYC CMSA                         22         $559        $365        $408         $475        $699         $964
                      Philadelphia CMSA                10         $599        $433        $486         $560        $729         $823
                      Washington, DC CMSA              43         $590        $354        $430         $570        $700         $850
                      Other East                       10         $462        $314        $365         $461        $513         $691
                      Metro Southeast                  12         $418        $292        $343         $375        $421         $746
                      Other Southeast                    8        $414          ISD       $354         $375        $463           ISD
 Location
                      Chicago CMSA                     20         $537        $351        $435         $533        $644         $734
                      Minne.-St. Paul PMSA             15         $443        $290        $330         $420        $545         $626
                      Other Central                    62         $421        $283        $342         $390        $500         $646
                      Texas                            19         $534        $400        $406         $460        $650         $800
                      Los Angeles CMSA                 13         $586        $336        $440         $575        $675         $978
                      San Francisco CMSA               14         $665        $385        $464         $650        $826        $1,023
                      Other West                       41         $496        $300        $343         $450        $623         $769
                      Biotechnology                    13         $610        $304        $418         $600        $818         $990
                      Chemical                         16         $462        $265        $374         $465        $593         $636
                      Computer Hardware                  5        $521          ISD       $313         $395        $793           ISD
 IP Technical         Computer Software                24         $493        $313        $380         $483        $596         $745
 Specialization       Electrical                       27         $586        $350        $400         $520        $670        $1,010
 (>=50%)              Mechanical                       63         $480        $337        $360         $450        $570         $700
                      Medical/ Health Care             18         $537        $300        $396         $497        $650         $743
                      Pharmaceutical                   10         $626        $405        $465         $600        $761         $956
                      Other areas                        3        $450          ISD         ISD        $450          ISD          ISD
                      35-39                            14         $451        $245        $313         $365        $655         $708
                      40-44                            36         $446        $325        $371         $400        $556         $665
                      45-49                            46         $502        $329        $368         $439        $600         $822
 Age
                      50-54                            64         $510        $350        $400         $459        $636         $750
                      55-59                            65         $550        $300        $365         $500        $675         $958
                      60 or Older                      74         $568        $350        $445         $530        $653         $838
                      Male                            257         $525        $334        $375         $482        $650         $785
 Gender
                      Female                           42         $486        $277        $350         $425        $631         $814
                      Bachelor's Degree               212         $516        $330        $375         $471        $650         $785
 Highest Non-Law
                      Master's Degree                  62         $542        $333        $400         $500        $650         $814
 Degree
                      Doctorate Degree                 24         $520        $310        $379         $464        $669         $880
                      White/Caucasian                 262         $520        $330        $375         $481        $650         $796
                      Hispanic/Latino                    4        $624          ISD       $445         $638        $789           ISD
 Ethnicity            Asian/Pacific Islander           11         $547        $315        $400         $500        $675         $910
                      Blended                            5        $510          ISD       $325         $450        $725           ISD
                      Other                              8        $535          ISD       $338         $450        $733           ISD
                      1-2                              24         $385        $275        $303         $350        $450         $585
                      3-5                              43         $408        $257        $350         $400        $460         $595
 Full-time
 Intellectual         6-10                             32         $473        $340        $364         $448        $529         $650
 Property lawyers     11-25                            56         $460        $340        $376         $428        $519         $633
 and agents in the    26-50                            46         $522        $329        $390         $500        $609         $737
 firm or              51-100                           47         $607        $350        $430         $577        $750         $960
 corporation
                      101-150                          24         $686        $353        $421         $710        $938        $1,023
                      More than 150                    27         $714        $524        $650         $700        $785         $972



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                                                              Attorney



Background Information
Private Firm, Partner-Track Attorney

                                                                    Total
 All Individuals                   Count                                139
                                   Yes                                90.6%
 Admitted to the Patent Bar
                                   No                                  9.4%
 Age                               Mean (Average) Years                40.6
                                   Male                               80.9%
 Gender
                                   Female                             19.1%
                                   White/Caucasian                    88.0%
                                   Black/African American              3.8%
                                   Hispanic/Latino                     1.5%
 Ethnicity
                                   Asian/Pacific Islander              3.0%
                                   Blended                             2.3%
                                   Other                               1.5%
 IP non-attorney experience        Mean (Average) Years                  3.7
 IP attorney experience            Mean (Average) Years                  9.8
                                   Bachelor's Degree                  67.6%
 Highest education other than
                                   Master's Degree                    23.7%
 Law
                                   Doctorate Degree                    8.6%




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                                                                  Attorney


Average hourly billing rate in 2018 (Q37)
Private Firm, Partner-Track Attorney



                                                                         10th         First                     Third        90th
                                            Number of       Mean       Percentile    Quartile      Median      Quartile    Percentile
                                            Individuals   (Average)      10%          25%         (Midpoint)    75%          90%
 All Individuals                                    99         $387         $250         $285          $350        $438         $600
                     Fewer than 5                   20         $309         $222         $250          $283        $325         $575
 Years of IP Law     5-6                            21         $406         $252         $284          $360        $458         $719
 Attorney            7-9                            22         $364         $260         $298          $338        $435         $509
 Experience          10-14                          16         $444         $280         $320          $426        $499         $755
                     15-24                          18         $405         $280         $308          $388        $456         $621
                     Boston CMSA                      4        $671          ISD         $533          $675        $806          ISD
                     Philadelphia CMSA                3        $381          ISD            ISD        $414          ISD         ISD
                     Washington, DC CMSA            16         $436         $285         $315          $400        $516         $669
                     Other East                       5        $312          ISD         $288          $300        $343          ISD
                     Metro Southeast                  6        $422          ISD         $324          $438        $503          ISD
 Location            Other Southeast                  4        $335          ISD         $233          $336        $438          ISD
                     Chicago CMSA                     5        $378          ISD         $350          $360        $415          ISD
                     Minne.-St. Paul PMSA             9        $297          ISD         $276          $295        $313          ISD
                     Other Central                  24         $314         $245         $251          $284        $345         $428
                     Texas                            4        $448          ISD         $310          $345        $688          ISD
                     Other West                     14         $413         $243         $269          $427        $500         $664
                     Biotechnology                    4        $487          ISD         $381          $418        $661          ISD
                     Chemical                         6        $318          ISD         $254          $318        $379          ISD
 IP Technical        Computer Software              20         $431         $252         $297          $355        $564         $745
 Specialization
 (>=50%)             Electrical                     10         $394         $253         $295          $415        $493         $500
                     Mechanical                     26         $340         $247         $280          $310        $374         $507
                     Pharmaceutical                   3        $572          ISD            ISD        $525          ISD         ISD
                     Younger than 35                29         $341         $250         $265          $300        $350         $591
                     35-39                          29         $389         $250         $280          $310        $468         $735
                     40-44                          12         $419         $226         $346          $418        $488         $675
 Age
                     45-49                          13         $381         $277         $298          $375        $433         $563
                     50-54                            9        $431          ISD         $360          $414        $459          ISD
                     55-59                            5        $416          ISD         $300          $435        $523          ISD
                     Male                           82         $402         $252         $290          $360        $468         $608
 Gender
                     Female                         16         $319         $247         $259          $296        $325         $486
                     Bachelor's Degree              65         $395         $266         $298          $350        $458         $595
 Highest Non-Law
                     Master's Degree                26         $368         $247         $275          $305        $449         $617
 Degree
                     Doctorate Degree                 8        $387          ISD         $246          $368        $437          ISD
 Ethnicity           White/Caucasian                85         $386         $250         $288          $350        $438         $595
                     3-5                              4        $298          ISD         $273          $285        $335          ISD
 Full-time           6-10                             7        $347          ISD         $285          $350        $400          ISD
 Intellectual        11-25                          21         $350         $259         $285          $324        $395         $491
 Property lawyers
                     26-50                          25         $376         $248         $290          $345        $470         $508
 and agents in the
 firm or             51-100                         21         $376         $224         $273          $350        $444         $573
 corporation         101-150                        11         $392         $280         $300          $325        $505         $707
                     More than 150                    9        $611          ISD         $467          $600        $768          ISD




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                                        Total Costs: Litigation-Patent Infringement, All Varieties by Type of Practice

Litigation-Patent Infringement, All Varieties >$25M Initial case management (000s) by Type of Practice (Q47Am)

                                           1-3             4-15           16-59     60 or more       All
                           Total        Attorneys       Attorneys       Attorneys    Attorneys    Corporate
 Number of Respondents             69               8               5          12           33           10
 Mean (Average)               $378           $187            $478            $201         $410         $575
 10th Percentile 10%           $50             ISD             ISD            $15         $110          $26
 First Quartile 25%           $123            $86             $45             $56         $150         $131
 Median (Midpoint)            $250           $138            $100            $113         $500         $250
 Third Quartile 75%           $500           $250          $1,100            $244         $500         $625
 90th Percentile 90%          $750             ISD             ISD           $675         $650        $2,800


Litigation-Patent Infringement, All Varieties >$25M Inclusive of discovery, motions, and claim construction (000s) by Type of Practice (Q47An)

                                           1-3             4-15           16-59     60 or more       All
                           Total        Attorneys       Attorneys       Attorneys    Attorneys    Corporate
 Number of Respondents             70               8               5          12           34           10
 Mean (Average)              $3,043          $761          $2,418          $2,750       $3,990        $2,015
 10th Percentile 10%          $500             ISD             ISD           $515       $1,050         $435
 First Quartile 25%          $1,000          $288            $145            $975       $2,000         $938
 Median (Midpoint)           $2,375          $550            $800          $1,625       $4,000        $1,250
 Third Quartile 75%          $6,000        $1,438          $5,500          $4,625       $6,000        $3,000
 90th Percentile 90%         $6,000            ISD             ISD         $7,800       $6,000        $5,700


Litigation-Patent Infringement, All Varieties >$25M Inclusive of pre-trial, trial, post-trial, and appeal (when applicable) (000s) by Type of Practice (Q47Ao)

                                           1-3             4-15           16-59     60 or more       All
                           Total        Attorneys       Attorneys       Attorneys    Attorneys    Corporate
 Number of Respondents             72               8               5          12           34           12
 Mean (Average)              $5,184        $2,525          $4,690          $3,938       $6,407        $4,625
 10th Percentile 10%          $930             ISD             ISD           $620       $1,375        $1,650
 First Quartile 25%          $2,000          $988            $625          $1,625       $3,500        $2,625
 Median (Midpoint)           $4,000        $1,450          $1,000          $2,750       $7,250        $3,500
 Third Quartile 75%          $9,000        $4,750         $10,600          $4,438       $9,000        $6,750
 90th Percentile 90%         $9,000            ISD             ISD        $12,900       $9,500        $9,700
                                                                                                                                                                 Case 3:17-cv-05659-WHA Document 634-6 Filed 11/30/20 Page 22 of 22




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